                          NUMBER 13-18-00576-CV

                             COURT OF APPEALS

                   THIRTEENTH DISTRICT OF TEXAS

                      CORPUS CHRISTI - EDINBURG


       IN THE INTEREST OF S.S.R., E.L.R. Jr., and Z.N.R.,
                        CHILDREN


                    On appeal from the 25th District Court
                         of Lavaca County, Texas.


               ORDER TO FILE APPELLANT’S BRIEF
Before Chief Justice Contreras and Justices Benavides and Longoria
                         Order Per Curiam

      This cause is before the Court on appellant E.L.R.’s first motion for extension of

time to file his brief. This Court, having fully examined and considered appellant’s

motion, is of the opinion that, in the interest of justice, appellant’s first motion for

extension of time to file his brief should be granted with this order.

      Appeals in parental termination and child protection cases are governed by the

rules of appellate procedure for accelerated appeals and include additional expedited

deadlines and procedures.      See TEX. R. APP. P. 28.4; TEX. R. JUD. ADMIN. 6.2(a),
reprinted in TEX. GOV’T CODE ANN., tit.2, subtit. F app. (West, Westlaw through 2013 3d

C.S.). The appellant's brief is due within 20 days after the later of the date the clerk's

record was filed or the date the reporter's record was filed, and appellee's brief is due

20 days after the date the appellant's brief was filed. TEX. R. APP. P. 38.6(a), (b). The

intermediate appellate courts are directed to ensure "as far as reasonably possible" that

appeals are brought to final disposition within 180 days of the date the notice of appeal

is filed.    TEX. R. JUD. ADMIN. 6.2(a).     In accordance with the limited time for

consideration of these appeals, this Court requires strict adherence to the briefing rules

in appeals of parental termination cases, such as this appeal, and looks with disfavor

upon the delay caused by requests for extensions of time to file the brief. See TEX. R.

APP. P. 38.6; see also id. R. 28.4.

      Appellant’s first motion for extension of time to file its brief is hereby GRANTED,

and appellant is hereby ORDERED to file its appellate brief with this Court on or before

5:00 p.m. on January 16, 2019.        Further motions for extension of time will not be

favorably entertained by this Court, absent truly extraordinary circumstances alleged and

supported by appropriate argument, authority, and any necessary evidence. The failure

to file the brief timely will result in abatement of the appeal for the appointment of new

counsel.

      The Clerk of this Court is ORDERED to serve a copy of this order on appellant’s

counsel, the Honorable James P. Peplinski, by email and by certified mail, return receipt

requested.

                                                              PER CURIAM

Delivered and filed the
15th day of January, 2019.


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